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14                        IN THE UNITED STATES DISTRICT COURT

15                 IN AND FOR THE NORTHERN DISTRICT OF CALIFORNIA

16                                SAN FRANCISCO DIVISION

17
     THE UNITED STATES OF AMERICA,             )   Case No. 3:20-cr-00249-RS-LBx
18             Plaintiff,                      )
                                               )   DEFENDANT ANDRADE’S OPPOSITION
19        vs.                                  )   TO THE GOVERNMENT’S MOTION TO
                                               )   ADMIT CO-CONSPIRATOR
20   ROWLAND MARCUS ANDRADE,                   )   STATEMENTS
              Defendant.                       )
21                                             )   No. 3:20-cr-00249-RS
                                               )
22                                             )   Judge: Richard Seeborg
                                               )   Pretrial Date: January 22, 2025
23

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28   OPPOSITION TO GOVERNMENT’S MOTION TO                              Case Number: 3:20-cr-00249-RS
     ADMIT CO-CONSPIRATOR STATEMENTS
     Case 3:20-cr-00249-RS              Document 481             Filed 01/17/25       Page 2 of 3




 1               DEFENDANT MARCUS ANDRADE’S OPPOSITION TO
           GOVERNMENT’S MOTION TO ADMIT CO-CONSPIRATOR STATEMENTS
 2

 3                    Mr. Andrade objects to the government’s effort to introduce the approximately

 4   300 hearsay statements in ECF 449-1, and 10 pages of messages in ECF 449-2, as co-conspirator

 5   statements in toto, and submits that the proffered statements should at most be admitted
     provisionally, and subject to specific objections when offered at trial. See United States v.
 6
     Zemek, 634 F.2d 1159, 1169 (9th Cir. 1980) (“In light of consistent Ninth Circuit precedent
 7
     allowing conditional admission, we reject [the] argument for a mandatory pretrial
 8
     determination,”) United States v. Kelly, 2023 U.S. LEXIS 103574 (N.D. Cal., June 14, 2023)
 9
     (mandatory pretrial determination of admissibility rejected in favor of conditional admission of
10
     801(d)(2)(E) statements).
11
                      The government’s motion begins with its story of the case, apparently intended to
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     establish for the Court that the proffered statements were made during and in furtherance of a
13
     conspiracy between Mr. Andrade and the speaker, Fed. R. Evid. 801(d)(2)(E), and to meet the
14   requirement that “the offering party must prove them by a preponderance of the evidence.”
15   United States v. Saelee, 51 F.4th 327, 342 (9th Cir. 2022). It then attaches the proffered co-
16   conspirator statements – some written and some recorded, but nothing by way of anticipated
17   testimony from live witnesses. It appears to make no effort to establish the existence of the
18   conspiracy, its members, and its duration through independent evidence, even though both the
19   Supreme Court and the Ninth Circuit has called co-conspirator statements “presumptively

20   unreliable,” United States v. Silverman, 861 F.2d 571, 578 (9th Cir. 1988) citing Bourjaily v.

21   United States, 483 U.S. 171, 107 S. Ct. 2775, 2781, 97 L. Ed. 2d 144 (1987), and require

22   additional evidence beyond the proffered statements themselves. Silverman, 861 F.2d at 577).1

23                    In addition to failing to provide independent evidence, the government proffered
     statements that would not qualify as co-conspirator statements. For example, after Boyer told
24

25
     1 The government may have declined to prove the conspiracy by independent evidence in reliance on its citation to
26   United States v. Chen, 548 F. Supp. 3d 904, 906 (N.D. Cal. 2021), Gov’t Motion at 8, but Judge Chen’s statement
     about the Confrontation Clause does not mean that co-conspirator statements alone can prove a conspiracy, because
27   the opinion expressly says the opposite. Id. If it had not, it would be in conflict with Silverman..

28                                                           1
      OPPOSITION TO GOVERNMENT’S MOTION TO                                           Case Number: 3:20-cr-00249-RS-
      ADMIT CO-CONSPIRATOR STATEMENTS
     Case 3:20-cr-00249-RS         Document 481           Filed 01/17/25    Page 3 of 3




 1   Dillman that Boyer had questioned by the FBI about AML Bitcoin and accused Dillman of lying

 2   to him, Dillman responded that “[e]verything I’ve stated I’ve repeated directly from Marcus.”

 3   ECF 449-2 at 7Ex. #334. Even if Boyer’s (false) finger-pointing does not establish that the

 4   conspiracy had ended, his blaming Mr. Andrade served his own personal objectives rather than
     those of the conspiracy, and did not further any conspiracy in which Mr. Andrade is a part. See
 5
     United States v. Moran, 493 F.3d 1002, 1010 (9th Cir. 2007); United States v. Nazemian, 948
 6
     F.2d 522, 529 (9th Cir. 1991) (“To be "in furtherance," the statements must further the common
 7
     objectives of the conspiracy”) (emphasis added).
 8
                    In any event, any admission of co-conspirator statements is subject to completion
 9
     issues. See Mr. Andrade’s Opposition to the United States’ Motions in Limine to #2. This
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     principle is especially applicable to the government’s proffered co-conspirator statements, which
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     include relatively short excerpts from lengthy back-and-forth communications over time. The
12
     government’s brief insists that it can choose to admit “the context for any co-conspirator
13
     statement,” ECF 449 at 12:5, and the rules of completeness permit the defense to do the same.
14

15                                                          Respectfully submitted,

16   DATED: January 17, 2025                                KING & SPALDING LLP
17
                                                        By: /s/ Michael J. Shepard
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      DOCUMENT TITLE                                                       Case Number: 3:20-cr-00249-RS
